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                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS-EASTERN DIVISION

 FAIRLY ODD TREASURES, LLC,
               Plaintiff,
 v.                                                No. 21-cv-06136


 THE PARTNERSHIPS AND                               Judge Robert M. Dow, Jr.
 UNINCORPORATED ASSOCIATIONS                        Magistrate Judge M. David Weisman
 IDENTIFIED IN SCHEDULE “A”,

                     Defendants.


  PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT
                  AGAINST CERTAIN DEFENDANTS

       Plaintiff Fairly Odd Treasures, LLC, hereby moves the Court for entry of Default and final

Default Judgment against the four remaining Defendants identified in Schedule A attached hereto.

Plaintiff has concurrently filed a Memorandum of Law in support of this Motion.


Dated: September 19, 2022                   FAIRLY ODD TREASURES, LLC.

                                            By: /s/ James E. Judge
                                            Attorney for Plaintiff

                                            Zareefa B. Flener (IL Bar No. 6281397)
                                            James E. Judge (IL Bar No. 6243206)
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on September 19, 2022, I filed the foregoing Motion and its supporting

Memorandum with the Clerk of the Court through the CM/ECF system and that all parties who

have appeared were served by that system. I will send electronic copies of the foregoing to the e-

mail addresses provided by third parties for Defaulting Defendants and provide a link to those

documents for Defendants’ use.


                                                    /s/ William Eskridge
                                                    Paralegal




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